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    Counterclaim Plaintiffs
 13
 14                       UNITED STATES DISTRICT COURT
 15                     CENTRAL DISTRICT OF CALIFORNIA
 16                                WESTERN DIVISION
 17 GRASSHOPPER HOUSE, LLC, a                 Case No. 2:18-CV-923 SVW (RAOx)
    California limited liability company,
 18                                           DEFENDANTS’ ANSWER TO
                 Plaintiff,                   PLAINTIFF’S FIRST AMENDED
 19                                           COMPLAINT AND COUNTERCLAIM
          v.                                  PLAINTIFFS’ COUNTERCLAIMS
 20                                           FOR DAMAGES AND OTHER
    CLEAN & SOBER MEDIA                       RELIEF FOR VIOLATIONS OF:
 21 LLC,  a California limited liability
    company; CLIFFSIDE MALIBU, a              (1) THE LANHAM ACT
 22 California corporation; RICHARD L.        (2) CALIFORNIA’S FALSE
    TAITE, an individual; and Does 1-10.          ADVERTISING LAW
 23                                           (3) CALIFORNIA’S UNFAIR
                 Defendants.                      COMPETITION LAW
 24
                                               DEMAND FOR JURY TRIAL
 25 CLIFFSIDE MALIBU, a California
    corporation; SUNSET MALIBU, a
 26 California corporation, CLIFFSIDE
    MALIBU II, a California corporation;
 27 CLIFFSIDE MALIBU OUTPATIENT
    SERVICES, a California corporation;
 28 CLIFFSIDE MALIBU 3, a California

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  1 corporation; and RECOVERY
    MALIBU, a California corporation;
  2
                 Counterclaim Plaintiffs,
  3
           v.
  4
    GRASSHOPPER HOUSE, LLC, a
  5 limited liability company; PASSAGES
    SILVER STRAND, LLC, a limited
  6 liability company; CHRIS PRENTISS,
    an individual; and PAX PRENTISS, an
  7 individual;
  8              Counterclaim Defendants.
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                                                          1                                         ANSWER
                                                          2         Defendants Clean and Sober Media LLC, Cliffside Malibu, and Richard L. Taite
                                                          3 (collectively, “Defendants”) hereby file their Answer in response to Grasshopper
                                                          4 House, LLC’s First Amended Complaint, dated May 16, 2018 (“Complaint”), Dkt. No.
                                                          5 30. Defendants deny the legal sufficiency of the Complaint and deny that Grasshopper
                                                          6 House, LLC (“Plaintiff”) has any claim for relief. Defendants deny the
                                                          7 characterizations, allegations, and claims in the Complaint unless admitted in the
                                                          8 following numbered paragraphs, which correspond to the numbered paragraphs in the
                                                          9 Complaint.
                                                         10                    RESPONSE TO JURISDICTION AND VENUE
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                                                         11         1.     Defendants admit that the Complaint purports to be an action for
                                LOS ANGELES, CA 90017




                                                         12 (1) violations of the Lanham Act; (2) libel per se; (3) false advertising in violation of
                                                         13 section 17500 of the California Business and Professions Code; and (4) false
                                                         14 advertising in violation of section 17200 of the California Business and Professions
                                                         15 Code. Defendants deny any allegations that they have violated the Lanham Act or
                                                         16 committed libel, false advertising, or unfair competition. Defendants admit that this
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                                                         17 Court has jurisdiction over the alleged claims. Defendants deny the remaining
                                                         18 allegations in Paragraph 1.
                                                         19         2.     Defendants admit that venue in this court is proper. To the extent a further
                                                         20 response is required, Defendants deny the remaining allegations in Paragraph 2.
                                                         21                           RESPONSE TO INTRODUCTION
                                                         22         3.     Defendants admit that The Fix is a website operated by Defendant Clean
                                                         23 & Sober Media LLC (“Clean & Sober”) for part of the period relevant to this action.
                                                         24 Defendants admit that Defendant Richard L. Taite owned Clean & Sober for part of the
                                                         25 period relevant to this action. Defendants admit that Mr. Taite owned Cliffside Malibu
                                                         26 for part of the period relevant to this action. Defendants deny all other allegations in
                                                         27 Paragraph 3.
                                                         28
                                                                                                          1
                                                                                            ANSWER AND COUNTERCLAIMS
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                                                          1         4.    Defendants admit that The Fix gave Passages Malibu a one-star rating for
                                                          2 treatment. To the extent the allegations of Paragraph 4 seek to describe the contents of
                                                          3 written documents, the documents speak for themselves and Defendants deny the
                                                          4 allegations to the extent that they are inconsistent with the documents. Defendants deny
                                                          5 all remaining allegations in Paragraph 4.
                                                          6         5.    Defendants deny the allegations in Paragraph 5.
                                                          7         6.    Defendants deny the allegations in Paragraph 6.
                                                          8                               RESPONSE TO PARTIES
                                                          9         7.    Defendants lack information sufficient to form a belief about the truth of
                                                         10 the allegations in Paragraph 7 of the Complaint and therefore deny them.
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                                                         11         8.    Defendants admit the first sentence of Paragraph 8. Defendants admit that
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                                                         12 Clean & Sober currently operates The Fix. To the extent the allegations of Paragraph 8
                                                         13 purport to describe the contents of a written document, the document speaks for itself
                                                         14 and Defendants deny the allegations to the extent that they are inconsistent with the
                                                         15 document. Defendants deny the remaining allegations in Paragraph 8.
                                                         16         9.    Defendants admit the first two sentences of Paragraph 9. Defendants lack
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                                                         17 information sufficient to form a belief about the truth of the allegations in the third
                                                         18 sentence of Paragraph 8 of the Complaint and therefore deny them.
                                                         19         10.   Defendants admit that Mr. Taite is the sole member of Clean & Sober.
                                                         20 Defendants admit that Mr. Taite was the founder of Cliffside Malibu. Defendants deny
                                                         21 the remaining allegations in Paragraph 10.
                                                         22         11.   Defendants deny the allegations in Paragraph 11.
                                                         23         12.   Defendants deny the allegations in Paragraph 12.
                                                         24         13.   Defendants deny the allegations in Paragraph 13.
                                                         25                     RESPONSE TO FACTUAL ALLEGATIONS
                                                         26         14.   Defendants admit the first two sentences of Paragraph 14. Defendants
                                                         27 deny the third sentence of Paragraph 14. Defendants admit that The Fix gave Passages
                                                         28 Malibu a one-star rating for treatment in 2011. To the extent the allegations in
                                                                                                    2
                                                                                           ANSWER AND COUNTERCLAIMS
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                                                          1 Paragraph 14 purport to describe the contents of a written document, the document
                                                          2 speaks for itself and Defendants deny the allegations to the extent that they are
                                                          3 inconsistent with the document. Defendant deny the remaining allegations in Paragraph
                                                          4 14.
                                                          5         15.   Defendants lack information sufficient to form a belief about the truth of
                                                          6 the allegations in the first sentence of Paragraph 15 of the Complaint and therefore
                                                          7 deny them. Defendants admit that The Fix gave Cliffside Malibu a four-star rating for
                                                          8 treatment and a four-star overall rating in 2012. Defendants deny the remaining
                                                          9 allegations in Paragraph 15.
                                                         10         16.   Defendants admit the first sentence of Paragraph 16. Defendants deny the
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                                                         11 remaining allegations in Paragraph 16.
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                                                         12         17.   Defendants admit the first sentence of Paragraph 17. Defendants deny the
                                                         13 remaining allegations in Paragraph 17.
                                                         14         18.   Defendants admit that Kris Harrison wrote an email to Zachary Urbina in
                                                         15 May 2014. To the extent the allegations in Paragraph 18 purport to describe the contents
                                                         16 of that written document, the document speaks for itself and Defendants deny the
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                                                         17 allegations to the extent that they are inconsistent with the document. Defendants deny
                                                         18 the remaining allegations in Paragraph 18.
                                                         19         19.   Defendants deny the allegations in Paragraph 19.
                                                         20         20.   Defendants lack information sufficient to form a belief about the truth of
                                                         21 the allegations in the first two sentences of Paragraph 20 of the Complaint and therefore
                                                         22 deny them. Defendants admit that Kris Harrison wrote an email to Zachary Urbina in
                                                         23 July 2014. To the extent the allegations in Paragraph 20 purport to describe the contents
                                                         24 of that written document, the document speaks for itself and Defendants deny the
                                                         25 allegations to the extent that they are inconsistent with the document. Defendants deny
                                                         26 the remaining allegations in Paragraph 20.
                                                         27         21.   Defendants admit that The Fix did not remove the ratings of Passages
                                                         28 Malibu or change its one-star rating for treatment but deny that it had any obligation to
                                                                                                         3
                                                                                            ANSWER AND COUNTERCLAIMS
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                                                          1 do so. Defendants admit that The Fix increased the overall rating for Passages Malibu
                                                          2 from two to two and a half stars. To the extent the allegations in Paragraph 21 purport
                                                          3 to describe the contents of a written document, the document speaks for itself and
                                                          4 Defendants deny the allegations to the extent that they are inconsistent with the
                                                          5 document. Defendants deny the remaining allegations in Paragraph 21.
                                                          6         22.   Defendants admit that The Fix gave Plaintiff the opportunity to participate
                                                          7 in a re-review process for Passages Malibu. Defendants admit that The Fix provided
                                                          8 Plaintiff a survey form to be completed by alumni of Passages Malibu. To the extent
                                                          9 the allegations in Paragraph 22 purport to describe the contents of that written
                                                         10 document, the document speaks for itself and Defendants deny the allegations to the
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                                                         11 extent that they are inconsistent with the document. Defendants deny the remaining
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                                                         12 allegations in Paragraph 22.
                                                         13         23.   To the extent the allegations in Paragraph 23 purport to describe the
                                                         14 contents of written documents, the documents speak for themselves and Defendants
                                                         15 deny the allegations to the extent that they are inconsistent with the documents.
                                                         16 Defendants deny the remaining allegations in Paragraph 23.
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                                                         17         24.   Defendants admit that The Fix increased the overall star rating and the
                                                         18 treatment rating for Cliffside Malibu from four stars to five stars. Defendants deny the
                                                         19 remaining allegations in Paragraph 24.
                                                         20         25.   To the extent the allegations of Paragraph 25 purport to describe the
                                                         21 contents of written documents, the documents speak for themselves and Defendants
                                                         22 deny the allegations to the extent that they are inconsistent with the documents.
                                                         23 Defendants deny the remaining allegations in Paragraph 25.
                                                         24         26.   Defendants deny the allegations in Paragraph 26, including those in
                                                         25 subparagraphs a-e. To the extent the allegations of Paragraph 26 purport to describe the
                                                         26 contents of written documents, the documents speak for themselves and Defendants
                                                         27 deny the allegations to the extent that they are inconsistent with the documents
                                                         28         27.   Defendants deny the allegations in Paragraph 27.
                                                                                                       4
                                                                                            ANSWER AND COUNTERCLAIMS
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                                                          1         28.   Defendants deny the allegations in Paragraph 28.
                                                          2         29.   Defendants deny the allegations in Paragraph 29.
                                                          3         30.   Defendants deny the allegations in Paragraph 30.
                                                          4                  RESPONSE TO PLAINTIFF’S DISCOVERY OF
                                                          5                    DEFENDANTS’ [ALLEGED] MISCONDUCT
                                                          6         31.   To the extent the allegations of Paragraph 31 purport to describe the
                                                          7 contents of written documents, the documents speak for themselves and Defendants
                                                          8 deny the allegations to the extent that they are inconsistent with the documents.
                                                          9 Defendants deny the remaining allegations in Paragraph 31.
                                                         10         32.   Defendants admit the third sentence in Paragraph 32. To the extent the
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                                                         11 allegations of Paragraph 32 purport to describe the contents of written documents, the
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                                                         12 documents speak for themselves and Defendants deny the allegations to the extent that
                                                         13 they are inconsistent with the documents. Defendants lack sufficient information to
                                                         14 form belief about the truth of the remaining allegations in Paragraph 32 of the
                                                         15 Complaint and therefore deny them.
                                                         16         33.   Defendants deny the allegations in Paragraph 33.
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                                                         17         34.   Defendants deny the allegations in Paragraph 34.
                                                         18         35.   Defendants admit that Allison McCabe wrote an email giving Plaintiff the
                                                         19 opportunity to participate in a re-review process for Passages Malibu on July 31, 2016.
                                                         20 To the extent the allegations of Paragraph 35 purport to describe the contents of that
                                                         21 written document, the document speaks for itself and Defendants deny the allegations
                                                         22 to the extent that they are inconsistent with the document. Defendants deny the
                                                         23 remaining allegations in Paragraph 35.
                                                         24                    RESPONSE TO FIRST CLAIM FOR RELIEF
                                                         25                 (Lanham Act § 43(a)(1)(B), 15 U.S.C. § 1125(a)(1)(B))
                                                         26         36.   Defendants incorporate by reference herein their responses to Paragraphs
                                                         27 1 through 35.
                                                         28
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                                                          1        37.    Paragraph 37 consists of a legal conclusion to which no response is
                                                          2 required. To the extent a further response is required, Defendants deny the allegations
                                                          3 in Paragraph 37.
                                                          4        38.    Paragraph 38 consists of a legal conclusion to which no response is
                                                          5 required. To the extent a further response is required, Defendants deny the allegations
                                                          6 in Paragraph 38.
                                                          7        39.    Paragraph 39 consists of a legal conclusion to which no response is
                                                          8   required. To the extent that a further response is required, Defendants deny the
                                                          9   allegations in Paragraph 39.
                                                         10        40.    Paragraph 40 consists of a legal conclusion to which no response is
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                                                         11   required. To the extent that a further response is required, Defendants deny the
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                                                         12   allegations in Paragraph 40.
                                                         13        41.    Paragraph 41 consists of a legal conclusion to which no response is
                                                         14   required. To the extent that a further response is required, Defendants deny the
                                                         15   allegations in Paragraph 41.
                                                         16        42.    Paragraph 42 consists of a legal conclusion to which no response is
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                                                         17   required. To the extent that a further response is required, Defendants deny the
                                                         18   allegations in Paragraph 42.
                                                         19        43.    Paragraph 43 consists of a legal conclusion to which no response is
                                                         20   required. To the extent that a further response is required, Defendants deny the
                                                         21   allegations in Paragraph 43.
                                                         22        44.    Defendants deny the allegations in Paragraph 44.
                                                         23                    RESPONSE TO SECOND CAUSE OF ACTION
                                                         24                                         (Libel per se)
                                                         25        45.    Defendants incorporate by reference herein their responses to Paragraphs
                                                         26 1 through 44.
                                                         27        46.    Defendants deny the allegations in Paragraph 46.
                                                         28        47.    Defendants deny the allegations in Paragraph 47.
                                                                                                       6
                                                                                              ANSWER AND COUNTERCLAIMS
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                                                          1        48.   Paragraph 48 consists of a legal conclusion to which no response is
                                                          2 required. To the extent that a further response is required, Defendants deny the
                                                          3 allegations in Paragraph 48.
                                                          4        49.   Defendants deny the allegations in Paragraph 49.
                                                          5        50.   Defendants deny the allegations in Paragraph 50.
                                                          6        51.   Defendants deny the allegations in Paragraph 51.
                                                          7        52.   Paragraph 52 consists of a legal conclusion to which no response is
                                                          8 required. To the extent that a further response is required, Defendants deny the
                                                          9 allegations in Paragraph 52.
                                                         10                   RESPONSE TO THIRD CAUSE OF ACTION
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                                                         11                 (California Business and Professions Code § 17500)
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                                                         12        53.   Defendants incorporate by reference herein their responses to Paragraphs
                                                         13 1 through 52.
                                                         14        54.   Paragraph 54 consists of a legal conclusion to which no response is
                                                         15 required. To the extent that a further response is required, Defendants deny the
                                                         16 allegations in Paragraph 54.
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                                                         17        55.   Paragraph 55 consists of a legal conclusion to which no response is
                                                         18 required. To the extent that a further response is required, Defendants deny the
                                                         19 allegations in Paragraph 55.
                                                         20        56.   Paragraph 56 consists of a legal conclusion to which no response is
                                                         21 required. To the extent that a further response is required, Defendants deny the
                                                         22 allegations in Paragraph 56.
                                                         23        57.   Paragraph 57 consists of a legal conclusion to which no response is
                                                         24 required. To the extent that a further response is required, Defendants deny the
                                                         25 allegations in Paragraph 57.
                                                         26        58.   Defendants deny the allegations in Paragraph 58.
                                                         27
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                                                                                            ANSWER AND COUNTERCLAIMS
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                                                         1                 RESPONSE TO THE FOURTH CAUSE OF ACTION
                                                         2                   (California Business and Professions Code § 17200)
                                                         3         59.    Defendants incorporate by reference herein their responses to Paragraphs
                                                         4 1 through 58.
                                                         5         60.    Paragraph 60 consists of legal conclusions to which no response is
                                                         6 required. To the extent that a further response is required, Defendants deny the
                                                         7 allegations in Paragraph 60.
                                                         8         61.    Paragraph 61 consists of a legal conclusion to which no response is
                                                         9 required. To the extent that a further response is required, Defendants deny the
                                                        10 allegations in Paragraph 61.
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                                                        11                        RESPONSE TO PRAYER FOR RELIEF
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                                                        12         Defendants deny that Plaintiff is entitled any relief in this case, including the
                                                        13 relief sought in the prayer for relief.
                                                        14                     RESPONSE TO DEMAND FOR JURY TRIAL
                                                        15         Plaintiff’s request for trial by jury does not require a response from Defendants.
                                                        16                       AFFIRMATIVE AND OTHER DEFENSES
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                                                        17         Without assuming any burden that they would not otherwise have, Defendants
                                                        18 assert the following defenses to every cause of action asserted against them as to which
                                                        19 such defense is or may be applicable. By virtue of alleging these further defenses,
                                                        20 Defendants do not assume any burden of proof, persuasion, or production not otherwise
                                                        21 legally assigned to them. Defendants reserve all rights to assert other defenses as
                                                        22 appropriate, and reserve all rights to modify, withdraw, or assert additional defenses
                                                        23 subject to information obtained through the formal discovery process in this case or as
                                                        24 information becomes available.
                                                        25                           FIRST AFFIRMATIVE DEFENSE
                                                        26                                 (Failure to State a Claim)
                                                        27         The Complaint fails to state a claim against Defendants upon which relief can
                                                        28 be granted.
                                                                                                        8
                                                                                           ANSWER AND COUNTERCLAIMS
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                                                         1                         SECOND AFFIRMATIVE DEFENSE
                                                         2                                  (Statute of Limitations)
                                                         3         Some or all of Plaintiff’s claims are barred by the applicable statutes of
                                                         4 limitations.
                                                         5                          THIRD AFFIRMATIVE DEFENSE
                                                         6                                          (Laches)
                                                         7         Some or all of Plaintiff’s claims are barred by the doctrine of laches.
                                                         8                         FOURTH AFFIRMATIVE DEFENSE
                                                         9                                     (Unclean Hands)
                                                        10         Some or all of Plaintiff’s claims are barred by the doctrine of unclean hands.
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                                                        11                           FIFTH AFFIRMATIVE DEFENSE
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                                                        12                         (No False Statement of Verifiable Fact)
                                                        13         Some or all of Plaintiff’s claims are barred because the complained of statements
                                                        14 are not false statements or misrepresentations of verifiable facts and are, therefore, not
                                                        15 actionable as a matter of law.
                                                        16                           SIXTH AFFIRMATIVE DEFENSE
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                                                        17                                          (Truth)
                                                        18         Some or all of Plaintiff’s claims are barred because the complained of statements
                                                        19 are true.
                                                        20                         SEVENTH AFFIRMATIVE DEFENSE
                                                        21                                       (Free Speech)
                                                        22         Any award of damages in this case would be unconstitutional under the First
                                                        23 Amendment to the United States Constitution.
                                                        24                         EIGHTH AFFIRMATIVE DEFENSE
                                                        25                                    (Fair Competition)
                                                        26         Some or all of Plaintiff’s claims are barred by the privilege of fair competition.
                                                        27
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                                                                                           ANSWER AND COUNTERCLAIMS
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                                                         1                         NINNTH AFFIRMATIVE DEFENSE
                                                         2                                (No Reasonable Reliance)
                                                         3         Plaintiff did not reasonably rely upon any alleged misrepresentations or
                                                         4 omissions by Defendants, and Plaintiff is therefore barred from seeking affirmative
                                                         5 relief against Defendants.
                                                         6                          TENTH AFFIRMATIVE DEFENSE
                                                         7                                         (Estoppel)
                                                         8         Some or all of Plaintiff’s claims are barred by the doctrine of estoppel.
                                                         9                       ELEVENTH AFFIRMATIVE DEFENSE
                                                        10                                         (Waiver)
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                                                        11         Some or all of Plaintiff’s claims are barred by the doctrine of waiver.
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                                                        12                        TWELFTH AFFIRMATIVE DEFENSE
                                                        13                                      (Acquiescence)
                                                        14         Some or all of Plaintiff’s claims are barred by the doctrine of acquiescence.
                                                        15                      THIRTEENTH AFFIRMATIVE DEFENSE
                                                        16                                 (No Damage to Plaintiff)
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                                                        17         Plaintiff did not suffer any damages (economic loss) as a result of Defendants’
                                                        18 actions with respect to the events alleged in the Complaint.
                                                        19                      FOURTEENTH AFFIRMATIVE DEFENSE
                                                        20                                   (Unjust Enrichment)
                                                        21         Plaintiff is seeking to recover more than Plaintiff is entitled to recover in this
                                                        22 case, and award of the judgment sought by Plaintiff would unjustly enrich Plaintiff.
                                                        23                       FIFTEENTH AFFIRMATIVE DEFENSE
                                                        24                                   (Failure to Mitigate)
                                                        25         Some or all of Plaintiffs’ claims are barred because Plaintiff failed to take
                                                        26 reasonable steps to mitigate its damages, if any.
                                                        27
                                                        28
                                                                                                       10
                                                                                           ANSWER AND COUNTERCLAIMS
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                                                         1                       SIXTEENTH AFFIRMATIVE DEFENSE
                                                         2                            (Attorney’s Fees Not Recoverable)
                                                         3         Plaintiff is not entitled to an award of costs and attorney’s fees incurred in this
                                                         4 action.
                                                         5                     SEVENTEENTH AFFIRMATIVE DEFENSE
                                                         6                                     (Lack of Standing)
                                                         7         Some or all of Plaintiffs’ claims are barred because Plaintiff lacks standing to
                                                         8 assert them.
                                                         9                      EIGHTEENTH AFFIRMATIVE DEFENSE
                                                        10                                (Lack of Proximate Cause)
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                                                        11         Some or all of Plaintiff’s claims are barred due to a lack of proximate causation
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                                                        12 between Defendants’ alleged conduct and Plaintiff’s alleged damages, if any.
                                                        13                       NINTEENTH AFFIRMATIVE DEFENSE
                                                        14                             (Superseding/Intervening Cause)
                                                        15         None of the acts attributed to Defendants proximately caused the injuries
                                                        16 alleged, and any such causation was superseded by actions of third parties, or
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                                                        17 circumstances and causes beyond the control of Defendants, thus barring or
                                                        18 diminishing any recovery against them.
                                                        19                       TWENTIETH AFFIRMATIVE DEFENSE
                                                        20                                        (Good Faith)
                                                        21         Defendants’ actions were at all times taken in the good faith exercise in
                                                        22 Defendants’ reasonable business judgment, and were taken for valid business purposes.
                                                        23 In addition, Defendants’ actions with respect to the events alleged in the Complaint, if
                                                        24 any, were made in good faith.
                                                        25                     TWENTY-FIRST AFFIRMATIVE DEFENSE
                                                        26                                    (No Intent to Harm)
                                                        27         Some or all of Plaintiff’s claims are barred on the grounds that, prior to and in
                                                        28 connection with the performance of business obligations for Plaintiff, there was no
                                                                                                  11
                                                                                           ANSWER AND COUNTERCLAIMS
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                                                         1 intent to harm Plaintiff, or anyone else. Defendant further alleges that any alleged
                                                         2 statements made by Defendants which form the basis of Plaintiff’s Complaint herein
                                                         3 were inadvertent and unintentional at the time they were allegedly published. Said
                                                         4 statements were made, if any there were, without an intent to harm Plaintiff or any third
                                                         5 parties.
                                                         6        RESERVATION OF RIGHT TO ASSERT ADDITIONAL DEFENSES
                                                         7         Defendants have not knowingly or intentionally waived any applicable defenses,
                                                         8 and they reserve the right to assert and rely upon other applicable defenses that may
                                                         9 become available or apparent throughout the course of this action. Defendants reserve
                                                        10 the right to amend or seek to amend their answer and/or affirmative defenses.
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                                                        11                                   COUNTERCLAIMS
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                                                        12                                     INTRODUCTION
                                                        13         1.    Counterclaim Defendants (collectively, the “Prentisses”) prey on people
                                                        14 struggling to overcome chemical dependence by misrepresenting their services and
                                                        15 those of their competitors. Through trickery and outright lies, they lure addiction
                                                        16 sufferers to their putative substance abuse treatment facilities, which charge up to
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                                                        17 $100,000 per month. When patients’ cash or insurance coverage runs out, the Prentisses
                                                        18 discharge them with assurances that they are “cured.” But there is in fact no “cure” for
                                                        19 substance addiction, and few if any of these patients achieve long-term sobriety.
                                                        20         2.    The Prentisses’ fraud is multifaceted:
                                                        21               a.     First, the Prentisses lure patients by posing on the Internet as trusted
                                                        22 institutions, then endorsing their own facilities and disparaging their competitors. For
                                                        23 example, the Prentisses secretly own, control, and operate a website called the
                                                        24 “Baltimore Health Resource Center” that looks like a publication of the City of
                                                        25 Baltimore, but actually exists to promote their own “Passages”-branded facilities. At
                                                        26 least four other websites the Prentisses secretly own or control do the same thing. One
                                                        27 poses as a college, one poses as a local paper, and two pose as addiction blogs.
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                                                         1                b.    Second, the Prentisses claim (1) to have discovered a treatment
                                                         2 method that “cures” substance addiction; (2) that the proof of this “cure” is that it
                                                         3 worked on Pax Prentiss, who happens to be an owner of Passages; and that (3) as a
                                                         4 result of their cure, Pax has been sober for “fifteen years.” All of that is false. There is
                                                         5 no cure for substance addiction; Pax Prentiss is not cured; and he has not been sober
                                                         6 for fifteen years. These lies are told for the express purpose of inducing vulnerable
                                                         7 people to enroll in the Prentisses’ rehabilitation facilities instead of those of the
                                                         8 Prentisses’ competitors.
                                                         9                c.    Both sets of misrepresentations were obviously intended to, and
                                                        10 did, take customers away from other rehabilitation facilities, including those owned by
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                                                        11 the Counterclaim Plaintiffs (collectively, “Cliffside”).
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                                                        12         3.     Cliffside operates leading substance abuse treatment facilities in
                                                        13 California. The Prentisses’ use of sham websites to tout the quality of their services,
                                                        14 their lies about having a cure, and their false claims that the cure worked on one of
                                                        15 their owners (Pax Prentiss) are each and all misleading, fraudulent, illegal, and unfair,
                                                        16 and diverted prospective patients to the Prentisses’ businesses at the expense of
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                                                        17 Cliffside. Cliffside accordingly seeks relief under federal and state law.
                                                        18                                          PARTIES
                                                        19         4.     Counterclaim Plaintiff Cliffside Malibu is a corporation organized under
                                                        20 the laws of the State of California, with its principal place of business at 29160
                                                        21 Heathercliff Road #200, Malibu, California 90265. Cliffside Malibu operates a leading
                                                        22 substance abuse treatment facility in Malibu, California. It has achieved The Gold Seal
                                                        23 of Approval from The Joint Commission.
                                                        24         5.     Counterclaim Plaintiff Sunset Malibu is a corporation organized under the
                                                        25 laws of the State of California, with its principal place of business at 29160 Heathercliff
                                                        26 Road #200, Malibu, California 90265. Sunset Malibu operates a leading substance
                                                        27 abuse treatment facility in Malibu, California. It has achieved The Gold Seal of
                                                        28 Approval from The Joint Commission.
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                                                         1         6.    Counterclaim Plaintiff Cliffside Malibu II is a corporation organized
                                                         2 under the laws of the State of California, with its principal place of business at 29160
                                                         3 Heathercliff Road #200, Malibu, California 90265. Cliffside Malibu II operates a
                                                         4 leading substance abuse treatment facility in Malibu, California. It has achieved The
                                                         5 Gold Seal of Approval from The Joint Commission.
                                                         6         7.    Counterclaim Plaintiff Cliffside Malibu Outpatient Services is a
                                                         7 corporation organized under the laws of the State of California, with its principal place
                                                         8 of business at 29160 Heathercliff Road #200, Malibu, California 90265. Cliffside
                                                         9 Malibu Outpatient Services operates a leading substance abuse treatment facility in
                                                        10 Malibu, California. It has achieved The Gold Seal of Approval from The Joint
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                                                        11 Commission.
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                                                        12         8.    Counterclaim Plaintiff Cliffside Malibu 3 is a corporation organized under
                                                        13 the laws of the State of California, with its principal place of business at 29160
                                                        14 Heathercliff Road #200, Malibu, California 90265. Cliffside Malibu 3 operates a
                                                        15 leading substance abuse treatment facility in Malibu, California. It has achieved The
                                                        16 Gold Seal of Approval from The Joint Commission.
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                                                        17         9.    Counterclaim Plaintiff Recovery Malibu is a corporation organized under
                                                        18 the laws of the State of California, with its principal place of business at 29160
                                                        19 Heathercliff Road #200, Malibu, California 90265. Recovery Malibu operates a
                                                        20 leading substance abuse treatment facility in Malibu, California. It has achieved The
                                                        21 Gold Seal of Approval from The Joint Commission. Cliffside Malibu, Sunset Malibu,
                                                        22 Cliffside Malibu II, Cliffside Malibu Outpatient Services, Cliffside Malibu 3 and
                                                        23 Recovery Malibu are collectively referred to as “Cliffside” herein.
                                                        24         10.   Counterclaim Defendant Grasshopper House, LLC is a limited liability
                                                        25 company organized under the laws of the State of California, with its principal place
                                                        26 of business at 6428 Meadows Court in Malibu, California 90265. It operates a putative
                                                        27 substance abuse treatment facility called Passages Malibu. Upon information and
                                                        28 belief, the manager or member of Grasshopper House, LLC is Chris Prentiss.
                                                                                                   14
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                                                         1         11.    Counterclaim Defendant Passages Silver Strand, LLC is a limited liability
                                                         2 company organized under the laws of the State of California, with its principal place
                                                         3 of business at 6428 Meadows Court in Malibu, California 90265. It operates a putative
                                                         4 substance abuse treatment facility called Passages Ventura. Upon information and
                                                         5 belief, the manager or member of Grasshopper House, LLC is Chris Prentiss. Passages
                                                         6 Malibu and Passages Ventura are collectively referred to as “Passages” herein.
                                                         7         12.    Counterclaim Defendant Chris Prentiss is a natural person residing in
                                                         8 California. He co-founded Passages and served as its co-director at all relevant times.
                                                         9 Chris Prentiss is the father of Pax Prentiss. Upon information and belief, along with his
                                                        10 son Pax, Chris controls and is directly responsible for the actions of Grasshopper
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                                                        11 House, LLC and Passages Silver Strand, LLC. Chris also acted in his personal and
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                                                        12 individual capacity as to, and actually directed, authorized, and personally participated
                                                        13 in the conduct that gives rise to Cliffside’s claims.
                                                        14         13.    Counterclaim Defendant Pax Prentiss is a natural person residing in
                                                        15 California. He co-founded Passages and served as its co-director at all relevant times.
                                                        16 Pax Prentiss is the son of Chris Prentiss. Upon information and belief, along with his
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                                                        17 father Chris, Pax controls and is directly responsible for the actions of Grasshopper
                                                        18 House, LLC and Passages Silver Strand, LLC. Pax also acted in his personal and
                                                        19 individual capacity as to, and actually directed, authorized, and personally participated
                                                        20 in the conduct that gives rise to Cliffside’s claims. Grasshopper House, LLC, Passages
                                                        21 Silver Strand, LLC, Chris Prentiss, and Pax Prentiss are collectively referred to as the
                                                        22 “Prentisses” herein.
                                                        23         14.    Upon information and belief, each of the Counterclaim Defendants acted
                                                        24 as the agent of the other Counterclaim Defendants with respect to the conduct that gives
                                                        25 rise to Cliffside’s claims in this action.
                                                        26         15.    Upon information and belief, each of the Counterclaim Defendants
                                                        27 conspired and acted in concert with each other with respect to the conduct that gives
                                                        28 rise to Cliffside’s claims in this action.
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                                                         1                                     JURISDICTION
                                                         2         16.    This Court has subject matter jurisdiction over this action pursuant to
                                                         3 28 U.S.C. § 1331 and 28 U.S.C. § 1367. This Court has specific and general personal
                                                         4 jurisdiction over the Prentisses in this action because the Prentisses reside in California,
                                                         5 have their principal places of business in California, and engaged in the conduct at
                                                         6 issue in California.
                                                         7                                FACTUAL ALLEGATIONS
                                                         8 A.      The Prentisses Operate Putative Substance Abuse Treatment Facilities That
                                                         9         Bilk People Struggling to Overcome Chemical Dependence.
                                                        10         17.    Chris Prentiss and his son, Pax Prentiss, operate Passages Malibu, a
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                                                        11 putative substance abuse treatment facility run by Grasshopper House, LLC. The
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                                                        12 Prentisses also operate Passages Ventura, a putative substance abuse treatment facility
                                                        13 run by Passages Silver Strand, LLC.
                                                        14         18.    Neither Chris Prentiss nor Pax Prentiss has any medical, behavioral, or
                                                        15 other training relevant to treating chemical dependence. Chris Prentiss is a real estate
                                                        16 broker and the author of several books on Chinese philosophy written under the
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                                                        17 pseudonym “Wu Wei.” Pax Prentiss is a drug addict, recreational trophy hunter, and
                                                        18 blogger. Upon information and belief, Pax Prentiss never held a job before he and his
                                                        19 father opened Passages.
                                                        20         19.    Both men know that those seeking treatment for addiction are desperate.
                                                        21 As Chris Prentiss has put it: “People mortgage their houses, max out their credit cards,
                                                        22 sell assets, whatever it takes to get here.” Upon information and belief, Passages now
                                                        23 charges patients up to $100,000 per month. It also accepts insurance.
                                                        24         20.    Upon information and belief, the Prentisses have reaped over $100 million
                                                        25 in profits through their putative treatment facilities, virtually all ill-gotten through the
                                                        26 fraudulent scheme described herein. This case is about the deceptive tactics that they
                                                        27 use to get patients in the door at the expense of competing facilities.
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                                                         1 B.      The Prentisses Pose as Trusted Institutions on the Internet.
                                                         2         21.   The Prentisses lure people struggling to overcome chemical dependence
                                                         3 to their putative treatment facilities by posing on the Internet as trusted institutions,
                                                         4 then endorsing their own facilities and disparaging their competitors.
                                                         5         22.   Upon information and belief, the Prentisses own and operate at least five
                                                         6 websites that pose as neutral sources while in fact promoting the Prentisses’ putative
                                                         7 treatment facilities without disclosing that the sites are owned and controlled by the
                                                         8 Prentisses. Such websites include but are not limited to the following:
                                                         9               a.      https://www.baltimorehealth.org/
                                                        10               b.      https://www.denverijournal.com/
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                                                        11               c.      https://www.westerncollege.com/
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                                                        12               d.      https://www.ghctotalhealth.org/
                                                        13               e.      https://www.discoveryretreats.com
                                                        14         23.   Unlike the operators of The Fix and other legitimate news websites, the
                                                        15 Prentisses do not bother to create substantive content for their non-branded websites.
                                                        16                    The Prentisses Pretend To Be The City Of Baltimore
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                                                        17         24.   The website https://www.baltimorehealth.org/ looks like a publication of
                                                        18 the City of Baltimore:
                                                        19               a.      Here is a picture of the website from February 2018:
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                                                        13               b.     The page uses the logo of the City of Baltimore.
                                                        14               c.     The “About” page on the website explains that: “Baltimore Health
                                                        15 is a resource guide for the residen[ts] of Baltimore. Please visit Baltimore Department
                                                        16 of Health for more information.”
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                                                        17               d.     The bottom of the homepage contains a list of “Resources” that
                                                        18 consists of sixteen hyperlinks. Eight are hyperlinks to government websites, including
                                                        19 the Baltimore City Health Department, Centers for Disease Control, and
                                                        20 Healthcare.gov.
                                                        21         25.   But it is not a government website at all, let alone an impartial source of
                                                        22 information. It is a website owned and controlled by the Prentisses. Even worse, the
                                                        23 website https://www.baltimorehealth.org used to be a website maintained by the City
                                                        24 of Baltimore. When the Prentisses obtained ownership of the site, they maintained the
                                                        25 original design aesthetic of the website in order to perpetuate the false impression that
                                                        26 it continues to be an official and trustworthy government source.
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                                                         1         26.    But the website is not the official government website that the Prentisses
                                                         2 represent it to be. The https://www.baltimorehealth.org/ site instead now exists to
                                                         3 promote the Prentisses’ putative treatment facilities under false pretenses.
                                                         4                a.     To begin, it contains little or no substantive news content—it hosts
                                                         5 only stories that either implicitly suggest the site is an official City of Baltimore website
                                                         6 or that disparage the Prentisses’ competitors, or that promote the Prentisses’ putative
                                                         7 treatment facilities under false pretenses.
                                                         8                b.     In the “Resources” section of the homepage—mixed in with
                                                         9 hyperlinks to actual government resources—are no fewer than eight links that promote
                                                        10 the Prentisses’ businesses. The links entitled “Malibu Luxury Rehab,” “Drug Addiction
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                                                        11 Treatment Center: Passages Malibu,” “Luxury Rehab,” “California Luxury Rehab,”
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                                                        12 “The Best Rehab,” “The Luxury Rehab,” “World’s Best Rehab,” and “Best Rehab
                                                        13 California” all redirect users to Passages’ websites, leaving the public with the false
                                                        14 impression that the City of Baltimore endorses Passages’ facilities and has adjudged
                                                        15 them to be superior to others.
                                                        16         27.    Notably, the Prentisses also use the website https://www.baltimore
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                                                        17 health.org/ to disparage Cliffside. In or around November of 2017, the Prentisses
                                                        18 posted to the website an article from the Verge entitled “Review Sites Have Deep Ties
                                                        19 to the Rehabs They Promote” (“Verge Article”)—an article that criticizes Richard Taite
                                                        20 for owning websites that purport to be impartial (but allegedly are not) and for not
                                                        21 causing those websites to more prominently disclose that they were under common
                                                        22 ownership with Cliffside Malibu. See https://www.baltimorehealth.org/review-sites-
                                                        23 have-deep-ties-to-the-rehabs-they-promote/ (describing and providing links to the
                                                        24 Verge Article).
                                                        25         28.    In an effort to capture search engine traffic of persons looking for Cliffside
                                                        26 Malibu’s home page and redirect them to the Verge Article, the Baltimore Health
                                                        27 webpage metatags the words “Cliffside Malibu”; includes a hyperlink of the text “The
                                                        28
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                                                         1 Verge” that directs users to the Verge Article; and a includes separate hyperlink of the
                                                         2 text “Cliffside Malibu” that also directs users to the Verge Article.
                                                         3         29.   Put differently, through the Baltimore Health website, the Prentisses do
                                                         4 everything they can to direct the public to an article that criticizes Richard Taite and
                                                         5 Cliffside for not being forthright about who owns a website. They do so from a
                                                         6 website that falsely appears to be owned by the City of Baltimore, but which they really
                                                         7 own. This is more than the pot calling the kettle black; it is the pot calling the kettle
                                                         8 black while impersonating a municipality.
                                                         9         30.   By warning readers about review sites that are secretly owned by
                                                        10 operators of rehab facilities, Baltimorehealth.org implicitly communicates that it is
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                                                        11 independent and trustworthy. Nowhere does the Baltimorehealth.org site disclose its
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                                                        12 ownership or correct the impression that the site is a product of the City of Baltimore.
                                                        13 The Prentisses run a version of the same scam—creating a website that looks like an
                                                        14 impartial source but is not—using at least four other sites they secretly own.
                                                        15               The Prentisses Pretend To Be a Local Denver Publication
                                                        16         31.   The website https://www.denverijournal.com/ pretends to be a local
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                                                        17 publication for residents of the City of Denver, with a focus on marijuana, e.g., the
                                                        18 “About” page of the website provides that “DenveriJournal is a blog that covers
                                                        19 marijuana news across the nation.” Upon information and belief, the website
                                                        20 https://www.denverijournal.com/ was a local publication for residents of Denver before
                                                        21 the Prentisses acquired it.
                                                        22         32.   Once the Prentisses acquired the denverijournal.com site, they used, and
                                                        23 continue to use, it just like the baltimorehealth.org website—as a sham “news” website
                                                        24 aiming to mislead readers into thinking it is an impartial outlet, when in fact its only
                                                        25 purpose is to promote the Prentisses’ putative treatment facilities:
                                                        26               a.     As of February 2018, the homepage looked like this:
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                                                        13               b.     The homepage displays the title of the website, DenveriJournal,

                                                        14 next to a “story” about how Passages Malibu is “revolutionizing addiction treatment.”
                                                        15 That “story” (hosted at https://www.denverijournal.com/rehab-reviews/passages-
                                                        16 malibu-revolutionizing-addiction-treatment/) is nothing more than an advertorial
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                                                        17 extolling the virtues of Passages, and is presented in a format that is indistinguishable
                                                        18 from editorial content.
                                                        19              c.    On the bottom of the homepage, there is a list of “Drug Addiction

                                                        20 Resources” that consists of eight hyperlinks. Three of the hyperlinks are “California
                                                        21 Luxury Rehab,” “Malibu Luxury Rehab,” and “Luxury Rehab Centers.” These
                                                        22 hyperlinks redirect users to Passages’ websites, and are mixed in with links to
                                                        23 legitimate resources, such as the National Institute of Health website. The unmistakable
                                                        24 impression is that an independent periodical impartially selected a series of links it
                                                        25 believes will be most useful to those seeking addiction treatment. Instead, the
                                                        26 Prentisses mixed self-serving links with legitimate sources of information.
                                                        27             d.     Indeed, the entire site is designed to convey to readers that every

                                                        28 word on the site is published by a local, independent journal. Of course, like
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                                                         1 baltimorehealth.org, it is nothing more than a shill for the Prentisses’ putative treatment
                                                         2 centers.
                                                         3         33.   Like with the bogus Baltimore site, the Prentisses also use the website
                                                         4 https://www.denverijournal.com/ to hypocritically disparage Cliffside. The homepage
                                                         5 of the website displays a link to an article entitled Warning signs that a friend or loved
                                                         6 one is abusing drugs, which is accessible at https://www.denverijournal.
                                                         7 com/top-right-news/warning-signs-that-a-friend-or-loved-one-is-abusing-drugs/. The
                                                         8 last paragraph of the article states: “Be Careful Researching Rehab Centers: Rehab
                                                         9 review websites may not be as independent as you may think. In a recent article by The
                                                        10 Verge, rehab centers such as Cliffside Malibu owns review websites such as
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                                                        11 theFix.com.” By warning readers of review sites that are owned by operators of rehab
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                                                        12 facilities, denverijournal.com implicitly communicates that it is independent and
                                                        13 trustworthy. The Prentisses decline to reveal that denverijournal.com is itself owned by
                                                        14 the Prentisses, who are competitors of Cliffside.
                                                        15                         The Prentisses Pretend To Be a College
                                                        16         34.   The website https://www.westerncollege.com/ has an address that
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                                                        17 suggests that it is associated with a college. It purports to be a “Drug and Alcohol
                                                        18 Addiction Blog,” and nowhere discloses it is owned by the Prentisses, as opposed to
                                                        19 an educational institution.
                                                        20         35.   Upon information and belief, the website https://www.westerncollege.
                                                        21 com/ was associated with Western Career College, a vocational school for jobs in the
                                                        22 healthcare field, before the Prentisses bought it.
                                                        23         36.   The website https://www.westerncollege.com/ now exists to promote the
                                                        24 Prentisses’ putative treatment facilities:
                                                        25               a.     As of December 2017, the homepage of https://www.western
                                                        26 college.com purported to offer a “story” about Passages and a “review” of Passages’
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                                                         1 Malibu facility that are nothing more than advertisements for the Prentisses’
                                                         2 businesses, as follows:
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                                                        15                b.    Indeed, the website purports to have a “Rehab Reviews” page,
                                                        16 accessible at https://www.westerncollege.com/category/rehab-reviews/. But the only
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                                                        17 rehab center that the website reviews is Passages Malibu, which the website reviews
                                                        18 three times. The reviews are highly favorable, asserting for example,: “In the list of to
                                                        19 [sic] 10 rehabs in California, Passage [sic] Malibu stands first over all the California
                                                        20 [sic] for its best services.”
                                                        21                      The Prentisses Pretend To Be Treatment Blogs
                                                        22          37.   The website https://www.ghctotalhealth.org looks like a blog covering
                                                        23 topics     related    to    drug    and     alcohol    treatment,   and   the    website
                                                        24 https://www.discoveryretreats.com also looks like a treatment blog. Upon information
                                                        25 and belief, however, both are secretly owned by the Prentisses, and are intended to
                                                        26 falsely give the impression to potential customers that independent evaluators think
                                                        27 highly of Passages’ services.
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                                                         1        38.    As of February 2018, the homepage of https://www.ghctotalhealth.org/
                                                         2 looked like this:
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                                                         4
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                                                        11        39.    The front page links to an “article” (hosted at https://www.ghctotalhealth
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                                                        12 .org/rehab-review/5-luxury-rehab-centers-in-malibu-california/)     that   subjectively
                                                        13 ranks rehab centers. Passages is listed first, and no mention is made of the common
                                                        14 ownership between the GHC Total Health website and the owners of Passages.
                                                        15        40.    The website https://www.discoveryretreats.com is used in a similarly
                                                        16 misleading way. As of February 2018, the homepage of https://www.discovery
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                                                        17 retreats.com looked like this:
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                                                         1         41.    The website offers several “posts” about Passages Malibu, which are
                                                         2 nothing more than advertorials presented in a way indistinguishable from legitimate
                                                         3 editorial content.
                                                         4         42.    The only rehab center that the website “reviews” is Passages Malibu,
                                                         5 which it reviews three times—twice as Passages Malibu and once under the
                                                         6 pseudonym “Luxury Rehab Centers in Malibu,” a phrase that hyperlinks to a Passages
                                                         7 website. One review claims that there is “[n]o better place to save your live [sic] or that
                                                         8 of your loved ones, other than Passages Malibu.” The reviews also attack other rehab
                                                         9 centers, claiming that Passages is “[t]he only rehab around town where they lift their
                                                        10 patients up, not tear them down. This positivity helps them to let go of their addiction
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                                                        11 to drugs and alcohol in just 30 days stay at the Malibu mansion.” The credibility of
                                LOS ANGELES, CA 90017




                                                        12 these statements obviously depend on who is making them. By hiding the ownership
                                                        13 of the site, the Prentisses actively mislead readers regarding the quality of information
                                                        14 it is offering about its rehab facilities.
                                                        15         43.    Upon information and belief, there are other websites, similar to the
                                                        16 foregoing, that deceptively claim to be neutral publications, yet are secretly owned by
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                                                        17 Passages to give the impression that impartial evaluators prefer Passages to its
                                                        18 competitors.
                                                        19         44.    Upon information and belief, all of these websites were acquired by the
                                                        20 Prentisses, and the relevant content discussed herein published, in or after March 2016.
                                                        21 C.      The Prentisses Falsely Claim to Have a Non-Existent Cure for Addiction.
                                                        22         45.    The Prentisses also lure people struggling to overcome chemical
                                                        23 dependence to their putative treatment facilities by pretending to have discovered a
                                                        24 “cure” for addiction.
                                                        25         46.    Addiction is a chronic condition that afflicts millions of Americans and
                                                        26 poses a lifelong struggle. In the words of the American Society of Addiction Medicine:
                                                        27 “Addiction is a chronic disease. Relapse prevention efforts are ongoing, especially
                                                        28 during the first months to two years. Maintenance of disease remission is a life-long
                                                                                                    25
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                                                         1 process and should be followed as with all other chronic relapsing illnesses such as
                                                         2 diabetes and hypertension.” American Society of Addiction Medicine, Public Policy
                                                         3 Statement on Treatment for Alcohol and Other Drug Addiction (rev. Jan. 2010). The
                                                         4 National Institute on Drug Abuse similarly defines addiction as “a chronic, relapsing
                                                         5 brain disease.” National Institute on Drug Abuse, The Science of Drug Abuse and
                                                         6 Addiction: The Basics (Oct. 2016).
                                                         7         47.    Within the reputable treatment community, it is undisputed that no cure
                                                         8 for addiction exists. The Hazelden Betty Ford Foundation counsels that addiction is
                                                         9 “chronic – there is no cure, but it can be managed.” The academic literature agrees.
                                                        10 See, e.g., Yngvild Olsen & Joshua Sharfstein, Confronting the Stigma of Opioid Use
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                                                        11 Disorder—and Its Treatment, 311:14 J. Am. Med. 1393, 1393 (April 9, 2014) (“Opioid
                                LOS ANGELES, CA 90017




                                                        12 use disorder, like all substance use disorders, is a chronic illness for which there is no
                                                        13 cure.”); Eric D. Morse, Addiction is a Chronic Medical Illness, 79:3 N.C. Med. J. 163,
                                                        14 163 (2018) (“Like most chronic medical illnesses, there is no ‘cure’ for addiction.”).
                                                        15         48.   Even though every reputable professional flatly denies that substance
                                                        16 addiction is curable, the Prentisses advertise to the public that they have a cure. To
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                                                        17 illustrate, the Prentisses have published the following promotional statements about
                                                        18 their purported ability to cure substance addiction within the last three years:
                                                        19               a.      “At Passages, we want to help you identify why you are using so
                                                        20 that you can be cured of addiction, forever.” 1
                                                        21                b.    “The cure for addiction starts by finding the right team, and
                                                        22 Passages believes that you have the power to permanently end your addiction.”2
                                                        23
                                                        24
                                                        25
                                                                   1
                                                                  https://b.passagesmalibu.com/cure-for-addiction/, last accessed July 20, 2018.
                                                        26 Upon information and belief, this statement was first published on April 16, 2018.
                                                                2
                                                                  https://b.passagesmalibu.com/cure-addiction/, last accessed July 23, 2018.
                                                        27 Upon information   and belief, this statement was first published on May 8, 2018.
                                                        28
                                                                                                      26
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                                                         1               c.      “Call Passages at 888-THE-CURE.” 3
                                                         2   (emphasis added).
                                                         3         49.   These statements are designed to persuade addicts to seek treatment at
                                                         4 Passages. The Prentisses publicize their claim to possess a cure through internet,
                                                         5 television, and print advertisements, as well as in brochures and personal appearances.
                                                         6         50.   Yet the Prentisses know that they do not possess a cure, and that there is
                                                         7 in fact no cure. Moreover, the Prentisses do not even know how many of their patients
                                                         8 are successfully treated; upon information and belief, Passages does not track the
                                                         9 recidivism rates of its patients after they are discharged.
                                                        10 C.      The Prentisses Tout the Imaginary Cure of Pax Prentiss.
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                                                        11         51.   There is no better way to sell a false claim than with personal anecdotes;
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                                                        12 since time immemorial, mountebanks have fooled their marks by testifying to the
                                                        13 miraculous effects their snake oil has had on themselves or their children. So too here.
                                                        14 To attract customers at the expense of their competitors, the Prentisses tout that Pax
                                                        15 Prentiss is a former addict who their methods “cured” and have kept sober for “fifteen
                                                        16 years.” Pax is neither cured nor fifteen years sober.
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                                                        17         52.   According to the Prentisses’ lore, their approach cured Pax Prentiss after
                                                        18 conventional methods failed. Within the past three years, they’ve made the following
                                                        19 statements disparaging conventional treatment methods for failing Pax:
                                                        20               a.      “It all started when Chris Prentiss tried to get his son, Pax, sober
                                                        21 from a horrific addiction to heroin, cocaine and alcohol. After ten years of fruitless
                                                        22 struggle, it became apparent that 12-Step programs and traditional group meeting
                                                        23 rehabs were not working for Pax.”4
                                                        24
                                                        25         3
                                                                      See, e.g., https://www.ispot.tv/ad/whsw/passages-malibu-heal-your-body
                                                           (“Call Passages at 888-THE-CURE.”). Upon information and belief, this statement was
                                                        26 first published when it aired in 2018.
                                                                  4
                                                                    https://malibuluxuryrehab.com/, last accessed July 20, 2018. Upon information
                                                        27 and belief,  this statement was first published in 2016 or later.
                                                        28
                                                                                                        27
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                                                         1                 b.    “Pax went to treatment centers that used the 12-Step program – 30
                                                         2 day, 60 day, and 90 day programs. Nothing worked. He would relapse almost
                                                         3 immediately upon coming home.” 5
                                                         4                 c.    “Throughout that horrific time, my Dad and I tried over and over
                                                         5 again to get me sober. I detoxed myself at home many times, went to AA meetings,
                                                         6 stayed 30, 60, and 90 days in treatment centers, and pretty much tried everything else
                                                         7 that was available at the time. None of it worked. I relapsed time and time again.”6
                                                         8                 d.    “Making matters worse, I was being treated with an antiquated
                                                         9 treatment philosophy based on the disease concept and 12-Step methods.”7
                                                        10 (emphasis added).
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                                                        11         53.     The Prentisses attribute the supposed recovery of Pax Prentiss to their
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                                                        12 treatment method, which they claim to make available to the public at their facilities.
                                                        13 To illustrate, the Prentisses have made the following promotional statements about
                                                        14 their cure of Pax Prentiss within the last three years:
                                                        15                 a.    “I finally achieved sobriety through the program that my dad and
                                                        16 I devised.” 8
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                                                        17                 b.    After Pax had been “cured,” the Prentisses represented the
                                                        18 following conversation took place between father and son: “‘Look, Dad, we know how
                                                        19
                                                        20
                                                        21         5
                                                                     https://chrisprentiss.com/meet-chris, last accessed July 24, 2018. Upon
                                                             information and belief, this statement was first published on or after November 13,
                                                        22   2015.
                                                                   6
                                                        23            https://paxprentiss.com/paxs-story/, last accessed July 24, 2018. Upon
                                                             information and belief, this statement was first published on or after November 12,
                                                        24   2015.
                                                                   7
                                                                      https://paxprentiss.com/paxs-story/, last accessed July 24, 2018. Upon
                                                        25   information and belief, this statement was first published on or after November 12,
                                                             2015.
                                                        26         8
                                                                      https://paxprentiss.com/paxs-story/, last accessed July 24, 2018. Upon
                                                        27   information and belief, this statement was first published on or after November 12,
                                                             2015.
                                                        28
                                                                                                       28
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                                                         1 to do this. Let’s open a treatment center and offer the same program that saved me.’
                                                         2 That was 15 years ago.” 9
                                                         3                c.    “Take it from me; I am living proof of that this method works.”10
                                                         4                d.    “[Our] non-12-step method worked for me, it can work for you
                                                         5 too.”11
                                                         6 (emphasis added).
                                                         7         54.    Yet Pax Prentiss has not been sober for fifteen years; indeed, on
                                                         8 information and belief, he continues to use drugs and or alcohol to this day. He is not
                                                         9 “cured.”
                                                        10         55.    The Prentisses claimed in late 2015 that Pax was cured “fifteen years”
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                                                        11 ago. 12 A necessary condition for that to be true is that Pax must not have used drugs or
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                                                        12 alcohol since 2000. But he in fact has continued to engage in substance abuse during
                                                        13 this period:
                                                        14                a.    Chris Prentiss himself has admitted Pax has used drugs and had
                                                        15 “serious drug problems” in that time period.
                                                        16                b.    An in-house employee of the Prentisses, Rana Ayzeren, testified
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                                                        17 that Pax used drugs during that time period.
                                                        18                c.    A former employee of Passages, Cynthia Bezago, testified to
                                                        19 discussions among Passages employees about Pax’s ongoing drug use in 2015.
                                                        20
                                                        21
                                                        22         9
                                                                      https://chrisprentiss.com/meet-chris, last accessed July 24, 2018. Upon
                                                        23   information and belief, this statement was first published on or after November 13,
                                                             2015.
                                                                   10
                                                        24            https://paxprentiss.com/about-passages, last accessed July 24, 2018. Upon
                                                             information and belief, this statement was first published on or after November 13,
                                                        25   2015.
                                                                   11
                                                        26             https://www.youtube.com/watch?v=3c-rHptkt0A, last accessed July 20,
                                                             2018. Upon information and belief, this statement was first published on or after
                                                        27   February 25, 2016.
                                                                   12
                                                                      See https://chrisprentiss.com/, last accessed July 24, 2018. Upon information
                                                        28   and belief, this statement was first published on or after November 13, 2015.
                                                                                                         29
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                                                         1               d.     Upon information and belief, Pax Prentiss is, even today, not
                                                         2 “cured” of his substance addiction, and continues his substance abuse notwithstanding
                                                         3 his purported “cure.”
                                                         4         56.   The Prentisses’ lies, misrepresentations, and unfair practices hurt
                                                         5 Cliffside:
                                                         6               a.     The Prentisses’ creation and maintenance of secretly-owned
                                                         7 websites—including one impersonating the City of Baltimore—that purport to be
                                                         8 neutral sources that favorably evaluated Passages’ facilities and treatment methods
                                                         9 disadvantaged Cliffside. Potential customers were deceived, and Cliffside suffered loss
                                                        10 of sales (including diversion of business) and goodwill.
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                                                        11               b.     The Prentisses’ misrepresentations about possessing a cure, about
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                                                        12 having cured Pax Prentiss, and about Pax being sober for fifteen years likewise
                                                        13 disadvantaged Cliffside and resulted in the loss of customers and goodwill. Potential
                                                        14 customers were deceived, and Cliffside suffered loss of sales (including diversion of
                                                        15 business) and goodwill.
                                                        16                              FIRST CAUSE OF ACTION
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                                                        17                           Lanham Act (15 U.S.C. § 1125(a)(1))
                                                        18                               (Cliffside v. The Prentisses)
                                                        19         57.   Cliffside incorporates all paragraphs in this pleading by reference as if
                                                        20 fully set forth herein.
                                                        21         58.   The Lanham Act prohibits the Prentisses from making false and
                                                        22 misleading statements about the nature of their services that deceive consumers and
                                                        23 damage Cliffside. See 15 U.S.C. § 1125(a)(1).
                                                        24         59.   To state a claim under the Lanham Act, Cliffside must allege facts
                                                        25 showing that “(1) the defendant made a false statement about the plaintiff’s or its own
                                                        26 product; (2) the statement was made in commercial advertisement or promotion; (3)
                                                        27 the statement actually deceived or had the tendency to deceive a substantial segment
                                                        28 of its audience; (4) the deception is material; (5) the defendant caused its false
                                                                                                  30
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                                                         1 statement to enter interstate commerce; and (6) the plaintiff has been or is likely to be
                                                         2 injured as a result of the false statement, either by direct diversion of sales from itself
                                                         3 to the defendant, or by a lessening of goodwill associated with the plaintiff’s product.”
                                                         4 Newcal Indus., Inc. v. Ikon Office Solution, 513 F.3d 1038, 1052 (9th Cir. 2008)
                                                         5 (internal quotation marks omitted).
                                                         6         60.   The pleaded facts satisfy all those conditions. The Prentisses’ multifaceted
                                                         7 lies regarding the addiction cure, as well as their creation and maintenance of secretly-
                                                         8 owned websites that posed as neutral arbiters but were and are not, are false statements
                                                         9 under the Act. They are also explicit commercial statements made in interstate
                                                        10 commerce that intended to, and did in fact, deceive their target audience, resulting in
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                                                        11 Cliffside suffering a loss of sales (including diversion of business) and goodwill, in an
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                                                        12 amount in excess of $50 million.
                                                        13                             SECOND CAUSE OF ACTION
                                                        14               False Advertising (Cal. Bus. & Prof. Code §§ 17500 et seq.)
                                                        15                                (Cliffside v. The Prentisses)
                                                        16         61.   Cliffside incorporates all paragraphs in this pleading by reference as if
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                                                        17 fully set forth herein.
                                                        18         62.   To state a clam for false advertising under California law, Cliffside must
                                                        19 allege that “(1) the defendant[s] made untrue or misleading statements and (2) the
                                                        20 defendant[s] knew, or by the exercise of reasonable care should have known, that the
                                                        21 statements were untrue or misleading.” See, e.g., Essence Imaging Inc. v. Icing Images
                                                        22 LLC, No. 2:13-CV-5449-CAS, 2014 WL 1384028, at *2 (C.D. Cal. Apr. 9, 2014)
                                                        23 (citation omitted). Cliffside must also allege “a loss or deprivation of money or
                                                        24 property” occurring as a result of the challenged business practice. Kwikset Corp. v.
                                                        25 Super. Ct., 51 Cal. 4th 310, 322-24 (2011).
                                                        26         63.   The pleaded facts satisfy those conditions. The Prentisses’ multifaceted
                                                        27 lies regarding the addiction cure, as well as their creation and offering of secretly-
                                                        28 owned websites that posed as neutral arbiters but were and are not, are “untrue or
                                                                                                  31
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                                                         1 misleading” conduct under California law. The Prentisses also knew or should have
                                                         2 known that these statements and practices were untrue and/or would be misleading to
                                                         3 customers. As a result of the Prentisses’ conduct, Cliffside lost sales (including
                                                         4 diversion of business) and business goodwill, in an amount in excess of $50 million.
                                                         5                               THIRD CAUSE OF ACTION
                                                         6               Unfair Competition (Cal. Bus. & Prof. Code §§ 17200 et seq.)
                                                         7                                 (Cliffside v. The Prentisses)
                                                         8         64.     Cliffside incorporates all paragraphs in this pleading by reference as if
                                                         9 fully set forth herein.
                                                        10         65.     California Business & Professions Code §§ 17200 et seq. (“UCL”)
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                                                        11 prohibits unfair competition. The UCL broadly defines “unfair competition” to “mean
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                                                        12 and include any unlawful, unfair, or fraudulent business act or practice.” Cal. Bus. &
                                                        13 Prof. Code § 17200. Its purpose “is to protect both consumers and competitors by
                                                        14 promoting fair competition in commercial markets for goods and services.” Kwikset
                                                        15 Corp. v. Super. Ct., 51 Cal. 4th 310, 320 (2011) (emphasis in original) (citation
                                                        16 omitted).
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                                                        17         66.     To state a claim under the UCL, Cliffside must allege facts that suffice to
                                                        18 show unfair, unlawful, or fraudulent conduct. As with a false advertising claim,
                                                        19 Cliffside must also allege “a loss or deprivation of money or property” occurring as a
                                                        20 result of the challenged business practice. Kwikset Corp., 51 Cal. 4th at 322.
                                                        21         67.     The Prentisses’ pleaded conduct is unlawful and fraudulent:
                                                        22                 a.    Unlawful. An unlawful act or practice is one that violates a
                                                        23 command of substantive law. The Prentisses’ practices violate, at a minimum, the
                                                        24 Lanham Act, California’s false advertising law, and California’s law against negligent
                                                        25 and intentional misrepresentation. See Cal. Civ. Code § 1709 (proscribing fraudulent
                                                        26 deceit); id. § 1710(1) (defining deceit to include “[t]he suggestion, as a fact, of that
                                                        27 which is not true, by one or does not believe it to be true”); id. § 1710(2) (defining
                                                        28
                                                                                                         32
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                                                         1 deceit to include “[t]he assertion, as of fact, of that which is not true, by one who has
                                                         2 no reasonable ground for believing it to be true”).
                                                         3               b.      Fraudulent. A “fraudulent” business act or practice is one that
                                                         4 (1) is likely to deceive the public, (2) causing plaintiffs to suffer an economic injury.
                                                         5 The Prentisses’ numerous false statements—with respect to both their secretly-owned
                                                         6 websites posing as trusted sources and their representations about having a cure for
                                                         7 addiction—were likely to, and did, deceive the public.
                                                         8         68.   As a result of the Prentisses’ conduct, Cliffside lost sales (including
                                                         9 diversion of business) and business goodwill, in an amount in excess of $50 million.
                                                        10                                 PRAYER FOR RELIEF
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                                                        11         WHEREFORE, Cliffside prays for judgment against the Prentisses as follows:
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                                                        12         1.    For monetary relief, in an amount to be proven at trial, plus all applicable
                                                        13 interest and costs;
                                                        14         2.    For equitable relief, including an injunction forbidding the Prentisses
                                                        15 from continuing their wrongful and fraudulent misconduct;
                                                        16         3.    For all attorneys’ fees and costs incurred in bringing this action, to the
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                                                        17 extent recoverable by law; and
                                                        18         4.    For all other relief the Court deems appropriate, proper, and just.
                                                        19                              DEMAND FOR JURY TRIAL
                                                        20         Cliffside demands a trial by jury on all issues so triable.
                                                        21                                              Respectfully submitted,
                                                        22 Dated: August 1, 2018                        STRIS & MAHER LLP
                                                        23                                              /s/ Peter K. Stris
                                                                                                        Peter K. Stris
                                                        24                                              Brendan S. Maher
                                                                                                        Elizabeth Brannen
                                                        25                                              Dana Berkowitz
                                                                                                        Victor O’Connell
                                                        26
                                                                                                        Attorneys for Defendants and Counterclaim
                                                        27                                              Plaintiffs
                                                        28
                                                                                                        33
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